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                      UNITED STATES DISTRICT COURT
                                                for the
                                     Southern District of Illinois

                Rory Griffin,                     )
                   Plaintiff(s)                   )
                       v.                         )       Case Number: 3:21-cv-00436-NJR
               Dennis Larson,                     )
                  Defendant(s)                    )


                                  ENTRY OF APPEARANCE
        To the Clerk of Court and all parties of record:

               I hereby enter my appearance as counsel for Rory Griffin
        pursuant to the Memorandum and Order of May 31, 2022 (ECF No. 39)



        DATED: 6/14/22

                                                          ________________________________
                                                          /s/ Brian O. Watson
                                                          Signature

                                                          ________________________________
                                                          Brian O. Watson
                                                          Name

                                                          70 W. Madison 2900
                                                          ________________________________
                                                          Address

                                                          312-471-8700
                                                          ________________________________
                                                          Phone Number

                                                          312-471-8701
                                                          ________________________________
                                                          Fax Number

                                                          bwatson@rshc-law.com
                                                          _______________________________
                                                          E-Mail Address




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